Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 1 of 6




   IN TH E U N ITED STA TES D ISTRICT CO U RT
                      THE SO UTHERN DISTRICT O F FLO RIDA


  Behjaminw illiams,                )
                Plaintiff           )                            FILED BY                  D.C.
                                   v)
  TRUTH SOCIALM EDIA,TRUM PM EDIA & )                                  FE8 12 2225
  TECHNOLOGYGROUPCORP               )                                   ANGELA E.NOBLE
                                                                       CLERK U S DISI CX
                                     )                                 s.().oFit-
                                                                                k.-MIAMI
  DO NALD J.TRUM P                  )
               Defendant            )


         COM PLAINT FORVIOLATION OFCIXILRIGHTS& 14TH
            AM ENDM ENT EQUALPROTECTION CLAUSC


  1. Thisisan action broughtagainstthe Trum p M edia and Technology G roup

     Corporation and PresidentElectDonald JTrum p ,the defendantsfor

     violation of42 U .S.C .2000e,Title X LII chapter 21 ofthe C ivilA ctof/

     64.,and 42 U.S.Code î 1981 -Equalriuhtsunderthe law,14th

     A m endm entEqualProtection C lause.

      TheplaintiftlBenjaminW illiamsisaresidentofthecountyofCook inthe
     state of lllinois.


  3.The defendantisa governm entagentofthe executive branch,D istrictofColum bia,and

  defendantcorporation is incorporated in Sarasota,FL.
Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 2 of 6




  8.ThedefendantDonald Trump having been sworn to uphold the constitution ofthe United

  States and his businesses m ustbe held to a greateraccountofprotecting the rights ofa1lcitizens

  no m atterw hatthe race,religion,gehder,sexualolientation orpoliticalaffiliation are.


  9.Thiscourthavetheduty tointerpretandapplythe1aw withoutprejudiceinaccordancewith
  theway previouscourtsand theimplicitwfitingsofthe constitution and law.ltwillbea

  miscal-riageofjusticetoallow thisdefendanttoactwithilupunityandwithotltregardtothelaw.

  10.The actionsofthe defendantin this m atter is agross violation ofthe plaintiffCivilRights

  and m ustbe rem edy forthe dam ages caused.


  l1.The plaintiffhas suffered dam ages ofm entalanguish forconstantly being slander,racially

  degraded and racially profiled.There are irreparable dalnages ofreptltation and state ofm ind

  caused by the continue racialdegradation.The m edia colnpany has allow ed w ith im punity the

  degradation ofthe black m an,black w om an and Jew ish people and ithas caused cultural

  suffering since N ovem ber5,2024.


  12.TH ER EFO R E,the plaintiffasks thatthe courtrem edy the m atterin accordance w ith

  the law and Constitution ofthe U nited States.
Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 3 of 6




  8.The defendantDonald Trump having been sworn to uphold the constitution oftheUnited

  Statesand hisbusinesses m ustbe held to a greateraccountofprotecting the rights ofa11citizens

  no matterwhattherace,religion,gender,sexualorientation orpoliticalaffiliation are.


  9.Tlliszoul-thavethedutytointerpretandapply thelaw withotltprejudiceinaccordancewith
  theway previouscourtsand theinnplicitwritingsofthe co'nstitution and law . ltw illbe a

  miscarriageofjusticetoallow thisdefendanttoactwith imptlnity andwithoutregardtothelaw.

  10.The actions ofthe defendantin thism atter is a gross violation ofthe plaintiff'C ivilRights

  and m ustbè rem edy for the dam ages caused.


  11.Theplaintiffhassuffered damagesofmentalanguish forconstantly being slander, racially

  degraded and racially profiled.Thereare irreparabledamagesofreptltation and stateofm ind

  caused by the continue raeialdegradation.The m edia com pany has allowed w ith im punity the

  degradation oftheblack man,blackwom an and Jewish people and ithascaused cultural

  suffering sinceNovem ber5,2024.


  12.TH ER EFO R E ,the piaintiffasks thatthe courtrem edy the m atterin accordance w ith

 the law and Constitution ofthe U nited States.
Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 4 of 6




  W herefore,BenjaminW illiamspraysthecourtgrantsreliefinthesum of$500,000,000.00,
  plus punitive dam agesforthe grossviolation by a form erand elected m em berofthe

  executive branch ofgovernm ent.



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                                                    oate: /ré>A >
    aintiff'ssignature)


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Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 5 of 6
Case 9:25-cv-80197-DMM Document 1 Entered on FLSD Docket 02/11/2025 Page 6 of 6
